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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF INDIANA
                            INDIANAPOLIS DIVISION


  In Re: COOK MEDICAL, INC., IVC               )
  FILTERS MARKETING, SALES                     )      1:14-ml-02570-RLY-TAB
  PRACTICES AND PRODUCT                        )      MDL No. 2570
  LIABILITY LITIGATION                         )
  ___________________________________          )

  This Document Relates to:
  Anthony DiBattista and Susan Silverston 1:19-cv-01995
  Julien Anthony                          1:19-cv-02022
  Ted and Rosemary Dooley                 1:19-cv-02221
  ____________________________________


                                 FINAL JUDGMENT
      Having granted the Cook Defendants' Motion for Judgment on the Pleadings, the

court now enters judgment in favor of the Cook Defendants and against the Plaintiffs

herein, Anthony DiBattista and Susan Silverston, 1:19-cv-01995; Julien Anthony, 1:19-

cv-02022; and Ted and Rosemary Dooley, 1:19-cv-02221.

SO ORDERED this 31st day of July 2020.

Roger Sharpe, Clerk
United States District Court                          s/RLY

s/____________________
By: Deputy Clerk



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